Case 4:18-cv-06753-PJH   Document 448-4   Filed 12/10/24   Page 1 of 2




                 Exhibit 3
      Case 4:18-cv-06753-PJH         Document 448-4        Filed 12/10/24       Page 2 of 2


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July 9, 2021


By Email
Ryan Burningham
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Re:    Production of Documents No. 15 in In re Ripple Labs Inc., Litigation

Dear Counsel:

       On behalf of Defendants Ripple Labs, Inc., XRP II, and Bradley Garlinghouse, subject to
our objections, we have uploaded to an FTP site documents Bates numbered RPLI_00557189-
RPLI_00600664. These documents that were recently produced in the SEC litigation (SEC v.
Ripple Labs, Inc. et al., Case No. 20 Civ. 10832 (AT) (S.D.N.Y.)) and are now being produced
to you here in the same form and manner that they were produced in that action. The cover e-
mail includes instructions for accessing the documents.

        Please note that certain of these documents have been designated CONFIDENTIAL or
HIGHLY-CONFIDENTIAL—ATTORNEYS’ EYES ONLY pursuant to the parties’ Stipulated
Protective Order.

       If you have any questions, please do not hesitate to contact me.

                                                    Sincerely,




                                                    Suzanne E. Nero
                                                    Counsel
